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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA ex rel.           §
     Dr. J. Thaddeus Beck;                 §
     Dr. Daniel S. Bradford;               §
     Dr. Gregory J. Oakhill;               §
     Dr. Stephen B. Rosenfield;            §
     Dr. Eric S. Schaefer; and             §
     Dr. Patrick M. Travis                 §
                                           §
               Relators,                   §
                                           §
       v.                                  §
                                           §
TruRadiation Partners Arkansas, LLC;       §
Northpoint Radiation Center GP, LLC;       §
Physicians Radiation Arkansas, LP;         §
ProPhysicians Arkansas, P.A.;              §
Kenneth E. Gardner, M.D.                   §
                                           §
              Defendants,                  §       CASE NO. 5:15-5275-TLB
              Counterclaim-Plaintiffs,     §
                                           §
TruRadiation Partners Arkansas, LLC;       §
Northpoint Radiation Center GP, LLC;       §
Physicians Radiation Arkansas, LP;         §
ProPhysicians Arkansas, P.A.;              §
                                           §
              Third-Party Plaintiffs,;     §
                                           §
       v.                                  §
                                           §
Dr. J. Thaddeus Beck;                      §
Dr. Daniel S. Bradford;                    §
Dr. Gregory J. Oakhill;                    §
Dr. Stephen B. Rosenfield;                 §
Dr. Eric S. Schaefer;                      §
Dr. Patrick M. Travis; and                 §
                                           §
              Counterclaim-Defendants.     §
                                           §
Highlands Oncology Group, P.A.             §
                                           §
              Third-Party Defendant.       §




i The Third Party Complaint is pursued by the Landmark Defendants only.




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             LANDMARK DEFENDANTS' THIRD PARTY COMPLAINT
                AGAINST HIGHLANDS ONCOLOGY GROUP, P.A.

       Pursuant to Federal Rule of Civil Procedure 7(a)(l), Defendants, Counterclaim-

Plaintiffs, and Third-Party Plaintiffs TruRadiation Partners Arkansas, LLC ("TruRadiation");

Northpoint Radiation Center GP, LLC ("Northpoint"); Physicians Radiation Arkansas, LP

("PRA"); and ProPhysicians Arkansas, P.A. ("ProPhysicians") (collectively, "Landmark" or

the "Landmark Defendants") file this Third Party Complaint (the "Third Party Complaint").

In support, the Landmark Defendants plead:

       1.     This litigation serves no purpose other than to protect the commercial interests

of Third-Party Defendant Highland Oncology Group, P.A. (the "Third-Party Defendant"),

and Relators/Drs. J. Thaddeus Beck, Daniel S. Bradford, Gregory J. Oakhill, Stephan B.

Rosenfeld, Eric S. Schaefer, and Patrick M. Travis (the "Counterclaim-Defendants)

(collectively, "HOG" or the "HOG Defendants").

       2.     The Highland Oncology Group holds and has held an exclusive monopoly

over the market radiation oncology services in Northwest Arkansas from the time it acquired

the assets of its nonprofit predecessor-NARTI-in 2008.          Since Landmark opened its

cancer treatment center in 2012, HOG has done everything in its power to prevent Landmark

from establishing itself as an alternative radiation oncology service provider. HOG's goal is

to limit patients' cancer treatment options to one provider-HOG.

       3.     HOG filed confusing trade names with the Arkansas Secretary of State,

claiming the right to do business as "Landmark Cancer Center" or "Northpoint Radiation

Center," not because it ever intended to operate under those names, but only because it knew

those were Landmark's typical naming conventions. It advertised itself on its website and in


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online advertising using terms like "Landmark" and "Northpoint" to cause confusion and

prevent referrals from ever reaching Landmark.

       4.      HOG opposed Landmark's applications for permits to do business or build a

vault for its radiation therapy equipment with the local planning commission.

       5.      HOG deliberately interfered with Landmark's attempts to bring new

physicians into Northwest Arkansas to provide cancer care, sometimes by luring the

physicians to HOG with more lucrative compensation and other times scaring away

alternative care providers with implicit threats of withholding referrals.

       6.      HOG has attempted to negotiate for exclusivity for itself in its dealings with

payers and other healthcare providers (e.g., local area hospitals) often by providing false and

disparaging information about Landmark.

       7.     HOG has repeatedly hired away trained Landmark personnel, in order to make

it more difficult for Landmark to do business.

       8.     After failing to completely prevent Landmark from entering the market by

commercial measures, HOG resorted to acts beyond mere competition to drive Landmark

from Northwest Arkansas.

       9.     Someone, acting at HOG's direction, intentionally installed ransomware onto

Landmark's computer systems, using the login credentials of a former Landmark employee

hired by HOG, in an effort to hijack Landmark's records and disrupt its patient care.

       10.    HOG physicians filed this litigation as a qui tam under seal, not alleging

patient harm, overtreatment, or overbilling, but only that-in their mistaken view-




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Landmark's business model renders referrals to Landmark by physicians illegal (while

HOG's referrals from its physician owners are allegedly legal).

        11.     Before the qui tam suit was unsealed, representatives from HOG pursued a

"business negotiation" with Landmark under false pretenses to gain information to bolster

their litigation.

        12.     Based on its actions, Landmark perceives that HOG will stop at nothing to

cause Landmark to cease operations in Northwest Arkansas. If not for the patients who rely

on Landmark to provide them with a superior cancer care experience and the respected local

physicians who continue to see the need for an alternative cancer care provider in Northwest

Arkansas, it probably would.

  I.    PARTIES

        13.     Defendant, Counterclaim-Plaintiff, and Third-Party Plaintiff TruRadiation

Partners Arkansas, LLC, is a domestic limited liability company organized under the laws of

the State of Texas with a principal place of business at 2526 Pinnacle Hills Parkway in

Rogers, Arkansas.

        14.     Defendant, Counterclaim-Plaintiff, and Third-Party Plaintiff N orthpoint

Radiation Center GP, LLC, is a domestic limited liability company organized under the laws

of the State of Texas with a principal place of business at 2701 Custer Parkway1 Suite 819 in

Richardson, Texas.

        15.     Defendant, Counterclaim-Plaintiff, and Third-Party Plaintiff Physicians

Radiation Arkansas, LP, is a limited partnership organized under the laws of the State of

Texas with a principal place of business at 2526 Pinnacle Hills Parkway in Rogers, Arkansas.



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        16.    Defendant, Counterclaim-Plaintiff, and Third-Party Plaintiff Pro Physicians

Arkansas, P.A., is a professional association organized under the laws of the State of

Arkansas with a principal place of business at 2526 Pinnacle Hills Parkway in Rogers,

Arkansas.

       17.    Third-Party Defendant Highlands Oncology Group, P.A., is a professional

association organized under the laws of the State of Arkansas with a principal place of

business at 3232 N. North Hills Boulevard in Fayetteville, Arkansas. Its registered agent for

service of process, with the Arkansas Secretary of State, is Kathey Rhoads at 3232 N. North

Hills Boulevard in Fayetteville, Arkansas, which is located within the Western District of

Arkansas. Its officers include Dan Bradford (President), J. Thaddeus Beck (Secretary), and

Patrick Travis (Vice-President).

       18.    Relator and Counterclaim-Defendant Dr. J. Thaddeus Beck is a member of the

Highlands Oncology Group, P.A., and a resident of the state of Arkansas and the Western

District of Arkansas.

       19.    Relator and Counterclaim-Defendant Dr. Daniel S. Bradford is a member of

the Highlands Oncology Group, P.A., and a resident of the state of Arkansas and the Western

District of Arkansas.

       20.    Relator and Counterclaim-Defendant Dr. Gregory J. Oakhill is a member of

the Highlands Oncology Group, P.A., and a resident of the state of Arkansas and the Western

District of Arkansas.




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       21.     Relator and Counterclaim-Defendant Dr. Stephan B. Rosenfeld is a member of

the Highlands Oncology Group, P.A., and a resident of the state of Arkansas and the Western

District of Arkansas.

       22.     Relator and Counterclaim-Defendant Dr. Eric S. Schaefer is a member of the

Highlands Oncology Group, P.A., and a resident of the state of Arkansas and the Western

District of Arkansas.

       23.    Relator and Counterclaim-Defendant Dr. Patrick M. Travis is a member of the

Highlands Oncology Group, P.A., and a resident of the state of Arkansas and the Western

District of Arkansas.

 II.   Subject Matter Jurisdiction

       24.    This Court possesses jurisdiction over this matter by operation ·of 28 U.S.C.

Section 1337, which grants original jurisdiction to the district court for any civil action or

proceeding arising under any act of Congress. Jurisdiction is also based on 15 U.S.C.

Sections 15 and 26, which provide for damages and injunctive relief against threatened loss

or damage, for violations of Sections 1 and 2 of the Sherman Act, and for costs of suit,

including reasonable attorneys' fees. This Court also has federal question jurisdiction over

the other claims brought under the Computer Fraud and Abuse Act, 18 U.S.C. Section 103;

and the Lanham Act, 15 U.SC. Section 1125(a)(l); pursuant to 28 U.S.C. Section 1331 and

13 37(a) and it has pendent jurisdiction over the claims which are not brought pursuant to the

federal antitrust laws via 28 U.S.C. § 1331.

       25.    Landmark's federal antitrust claims arise under Sections 1 and 2 of the

Sherman Act (15 U.S.C. §§ 1 and 2) and under Sections 4 and 6 of the Clayton Act (15

U.S.C. §§ 15 and 26) to (i) recover damages from HOG, including treble damages, costs of

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suit and reasonable attorneys' fees, for injuries sustained by Landmark to its .business and

property by reason of HOG's violations of Sections 1 and 2 of the Sherman Act; and (ii)

obtain injunctive relief against HOG and their respective members, divisions, officers,

directors, employees, agents, subsidiaries and affiliates to restrain them from further and

continued violations of Sections 1 and 2 of the Sherman Act.

       26.     This action is also instituted pursuant to HOG's violation of the Arkansas

Deceptive Trade Practices Act, Ark. Code Ann. Section 4-88-101, et seq., and the general

common laws of the State of Arkansas by its interfering with Landmark's existing business

relationships and the intentional interference with Landmark's prospective business

relationships, as well as Landmark's commission of common law unfair competition and

injurious falsehood. This Court has supplemental jurisdiction over the claims described in

this paragraph because 28 U.S.C. Section 1367 confers jurisdiction on claims that are so

related to the federal claims, including the claims in HOG's Original Complaint, that they

form part of the same case or controversy and involve a common nucleus of operative fact. It

is in the interests of judicial economy and fairness to litigate these matters simultaneously

and in the same Court.

       27.     This District is an appropriate venue for the commencement of this litigation

pursuant to Sections 4, 12, and 16 of the Clayton Act, 15 U.S.C. Sections 15, 22, and 26, and

under 28 U.S.C. Sections 1391(b) and (c). Venue is also proper as to these claims as they

assert mandatory counterclaims. Finally, venue is also proper since the HOG Defendants

have their residence or principal offices in this District and are doing business in this District.




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       28.    HOG is engaged in interstate commerce ansmg from this District and in

activities affecting interstate commerce. HOG provides oncology services to patients who

reside outside the State of Arkansas, receives payments from insurers who reside outside this

state, and engages in the purchase of materials and services from outside this state to support

the operation of their businesses in this District. HOG' s anticompetitive practices, described

more fully in this Counterclaim and Third Party Complaint, have had and continue. to have a

substantial adverse effect on interstate commerce by, among other things, preventing patients

from receiving Oncology Services from Landmark, limiting Landmark' s ability to contract

with existing service providers, referral sources, and/or insurance companies, or to recruit

new service providers from outside this state.

III.   Geographic Market

       29.    The relevant geographic market for radiation oncology services is the area

defined by the United States Census Bureau as the Fayetteville-Springdale-Rogers

Metropolitan Statistical Area ("Northwest Arkansas").        This area includes Fayetteville,

Springdale, Rogers, and Bentonville, the third,' fourth, eighth and tenth largest cities in

Arkansas. Arkansas's population is largely concentrated in urban areas spread throughout

the state, and many of these areas are separated from each other by considerable distances.

       30.    Because patients who need radiation oncology services need to receive these

services at a physical location containing specialized equipment on a specific schedule (e.g.,

a certain number of treatments at specified intervals over a multi-week period), it is not

practical for individuals to travel long distances to seek alternative providers for radiation

oncology services.   The closest communities with alternative radiation oncology service

providers - Fort Smith, (78 miles), Tulsa (111 miles), Springfield (117 miles), or Little Rock

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(192 miles) - are too remote to offer a realistic alternative to individuals in need of daily,

semi-weekly, or weekly radiation oncology services across a multi-week period.

IV.    Product Market

       31.    Landmark offers patients m Northwest Arkansas a full range of radiation

oncology services and various related radiology and laboratory services.

       32.    Oncology is the diagnosis, management and treatment of cancer.

       33.    Radiation oncology services include a number of different treatment methods

that use high-energy rays to kill cancer cells. Radiation oncology is part of Landmark's

multidisciplinary approach to the treatment of cancer.

       34.    Medical oncology services include a number of different treatment methods

that use medicine and medical therapies, rather than surgical or radiation therapies to treat

cancer. These include, for example, systemic treatments such as chemotherapy.

       35.    Hematology services include the diagnosis, management and treatment of

benign and malignant diseases of the blood and blood forming tissues. This includes, for

example, the diagnosis and treatment of leukemia.

       36.    Many oncology service providers offer their patients services that are ancillary

to its medical oncology, hematology and/or radiation oncology services. These services

include radiology or imaging services, laboratory services, a pharmacy dispensing clinic,

genetic counseling and testing, and social work services that help families cope with the

hardships created by cancer.

       37.    HOG obtained, holds, and maintains a monopoly over the market for radiation

oncology services in Northwest Arkansas. From 2008 and until Landmark's opening in



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2012, HOG was the only provider of comprehensive cancer treatment m Northwest

Arkansas.

         38.     Landmark believes that HOG maintains approximately a 93% market share

over the market for radiation oncology services in Northwest Arkansas. Until Landmark's

entry in 2012, HOG had a 100% market share over the market for radiation oncology

services in Northwest Arkansas

        39.     Radiation oncology services reqmre specialized personnel, equipment, and

facilities.    The prov1s1on of radiation oncology services includes both a professional

component and a technical component.        The provision of either component of radiation

oncology services requires expertise, skill, and training. In addition, diagnosing and treating

cancer requires specialized equipment and resources and must be conducted in a specially-

designed facility. Moreover, radiation oncology services are a distinct market from other

types of cancer diagnosis and treatment. Patients who are diagnosed with a cancer that can

be treated using radiation may or may not be eligible for alternative forms of treatment, such

as chemotherapy or surgery. For some patients, the only treatment option available is some

form of radiation. Therefore, radiation oncology services are separate and distinct product

market from other alternatives in cancer care.

 V.     Why Landmark Cancer Center Came to Northwest Arkansas

        40.     Landmark came to Northwest Arkansas in 2012 after a group of well-

respected local physicians expressed concern about a lack of alternative treatment options for

their patients who needed radiation oncology and other cancer treatment services to

representatives for the entities who ultimately opened the Landmark Cane.er Center m

Rogers, Arkansas.

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       41.     These physicians expressed a concern that the only other treatment provider,

HOG, was rendering substandard care. Landmark heard concerns throughout the medical

community that HOG was offering a substandard patient experience. Specifically, concerns

were raised to Landmark that HOG physicians were overtreating their patients by insisting

on PET/CT scans for all new patients, even patients who had recently had imaging; that they

ordered PET/CT scans on patients where imaging was not necessary to the treatment of that

patients' cancer, and that their doctors routinely did not collaborate with the referring

physicians when developing a plan to treat patients referred, by necessity, to HOG for

specialized cancer treatment services like radiation oncology, medical oncology, or

hematology.

       42.    Perhaps worse, patient experience at HOG was reported to be substandard.

For patients facing life-threatening illness, state of mind is essential.       Physicians felt

uncomfortable recommending that their patients get radiation treatments at HOG, because

they could not be assured that HOG would provide a patient-first experience to cancer

patients who literally had no other choice but to seek out services from HOG.

       43.    More recently, the types of behaviors exhibited by HOG physicians continue

to reflect that of a service provider with ultimate market power. Upon information and

belief, HOG physicians have instructed patients that they were required to fulfill

prescriptions through a HOG-owned pharmacy, when of course they were not. And in many

instances, these patients could have obtained the medications sold through the HOG-owned

pharmacy through retail or mail-order outlets for significantly lower prices.




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       44.     Responding to the identified need, Landmark agreed to open a center m

Rogers, Arkansas.

VI.    HOG Monopolizes Cancer Treatment in Northwest Arkansas

       45.     HOG has controlled a monopoly over cancer treatments, particularly radiation

oncology services, in Northwest Arkansas since at least 2008.

       46.     Prior to 2008, the only provider of radiation oncology services in Northwest

Arkansas was a non-profit entity called Northwest Arkansas Radiation Therapy Institute

(NARTI). NARTI was established as a grassroots, cooperative by 13 then-existing hospitals

across a five-county area to give cancer patients in the Northwest Arkansas area an

opportunity to receive cancer care in their own community. The hospitals provided some

limited financial support, while the land where the original NARTI center was built was

donated by local families.      The land was significant, according to NARTI's founders,

because it enabled the non-profit corporation to begin operations without the debt of a land

purchase in a neutral site conveniently located near what would become Interstate 49 and

Highway 412.

       47.     At the core of NARTI's mission was providing cancer care to all patients,

regardless of ability to pay.

       48.     NARTI was forced to shutter its doors in 2008 when presented with an

ultimatum from HOG - either sell your assets to us or we will bring in a competing business

to shut yours down. As a result, NARTI ceased to exist, and its assets, including the land

donated by the local families and the radiation therapy vault built with donated funds, came

under the control of the Highlands Oncology Group. Through no accident, many employees

ofNARTI became employees of HOG or a HOG-controlled entity. See Highlands Oncology

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Group to Purchase Services from NARTI, Merges with Ozark Radiation Oncology, Arkansas

Business (May 10, 2008).

        49.       Even after NARTI shut its doors, no hospitals offered radiation oncology

services for Northwest Arkansas patients. Patients in need of radiation therapy in Northwest

Arkansas, after NARTI was acquired by HOG, had little choice - either travel to Tulsa (111

miles), Springfield ( 11 7 miles), or Little Rock (192 miles) or receive cancer treatments at

HOG.

       50.        It was not surprising that HOG was able to maintain this position. There are

significant barriers to entry in the radiation oncology space, illustrated by the community

effort required to assemble the donations and support that led to the establishment ofNARTI.

Radiation oncology services are rendered by one or more highly sophisticated pieces of

equipment called linear accelerators which deliver the radiation to the precise location

designated for treatment. These machines are extremely expensive, and the cost to create a

physical space where radiation therapy will be administered, often called a vault, are

similarly high.

       51.        Likewise, due to the radioactive nature of the services, many areas require

special permitting or licensure before constructing a space designed for the administration of

radiation therapy services.

       52.     The best designed space and latest equipment also only have usefulness with

trained personnel who can design, administer, and manage a course of radiation therapy for a

patient's specific disease. A team consisting of a radiation oncologist, radiation physicist,

and technicians, each with specific skills, expertise, and training, are required.



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       53.     Once you have the physical space, equipment, and personnel to administer

radiation oncology services, a business still has to enter into a series of other contracts or

relationships in order to be paid.

       54.     Finally, the radiation therapy center may need to align with one or more payer

or provider-based networks. Often, insurers or providers (e.g., hospitals) establish "preferred

provider" status to signify to their patients which providers they recommend or require their

patients utilize for specialized services like radiation therapy.

VII.   From the Beginning, HOG Saw Landmark as a Competitive Threat and Attempted
       to Regain its Monopoly on Cancer Treatment in Northwest Arkansas

       55.     At every step along the way, HOG, its physicians, and their agents made every

effort to block Landmark's attempts to open a cancer center in Northwest Arkansas.

       56.     HOG quickly registered "fictitious names" with the Arkansas Secretary of

State in an attempt to cause confusion or deter Landmark's entry into Arkansas, registering

the following names with the Arkansas Secretary of State:           "LANDMARK CANCER

CENTER," "LANDMARK CANCER CENTER OF NORTHWEST ARKANSAS," and

"NORTHPOINT RADIATION CENTER."




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                               Corporation Name                         HIGHLANDS ONCOLOGY GROUP, P.A.

                               Fidibous Names                           HIGHLANDS CANCER CENTER
                                                                        HIGHLANDS ONCOLOGY GROUP
                                                                        HIGHLANDS ONCOLOGY GROUP, PA
                                                                        HIGHLANDS PHARMACY
                                                                        LANDMARK CANCER CENTER
                                                                        LANDMARK CANCER CENTER OF NORTHWEST
                                                                        ARKANSAS
                                                                        NORTHPOINT RAOlATIOO CENTER
                               Filing#                                  100130764



         57.           Upon information and belief, HOG has never operated nor ever intended to

operate under any of those names.

         58.           HOG also attempted to create confusion around the Landmark name. Upon

information and belief, HOG changed the text on its website to use the word "Landmark" so

that search results for Landmark Cancer Center would locate HOG-controlled webpages.

Based on the results of its own internet search results, Landmark also believes HOG may

have acquired advertising rights to certain searches including the terms Landmark or

N orthpoint.

         59.          Upon information and belief, HOG physicians or their representatives

contacted the Rogers Planning Commission in an attempt to convince the Commission not to

approve Landmark' s request to build a vault for administering radiation therapy in Rogers.


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       60.     Those attempts were ultimately unsuccessful.

       61.    HOG also attempted to interfere with Landmark's operations by disrupting its

ability to service its patients. Since 2012, HOG has hired away at least six then-current

Landmark employees, including radiation technicians and other highly skilled staff.

       62.    HOG has recruited physicians away from Landmark who Landmark attempted

to bring in to support its radiation oncology or other service lines. Despite the allegations in

the Amended Complaint in this action, the sales pitch to each of those physicians was that

they could make more money by joining HOG than they ever could by working with

Landmark in any capacity.

       63.    Finally, HOG has attempted to obtain preferred provider status with payers

(insurance companies) and referral sources, to the exclusion of Landmark by wrongful

conduct, including providing false and disparaging information about Landmark.            Upon

information and belief, HOG has attempted to use its market power and position to negotiate

contracts making them the preferred or exclusive provider with payers or other healthcare

providers (e.g., hospitals) who could operate as a source of referrals for HOG. In addition,

HOG has spent large sums of money on marketing, meals and entertainment directed toward

referral sources or people in positions of authority over the industry - incluµing hospital

executives, other physicians in a position to diagnose cancer, and local officials who held

positions of authority over the process of setting up and operating a business in Northwest

Arkansas.

       64.    Landmark was independently aware of the influence that HOG and its

physicians have in Northwest Arkansas by third-party observation, but the point was



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 reinforced to them during business discussions between Landmark representatives and HOG

 physicians Beck and Bradford, who bragged that they were "the most well connected"

 oncologists in the community. Landmark now believes that those business discussions were

 simply a pretext for HOG to gather information in connection with its undiscl.osed qui tam

 lawsuit.

VIII.    Failing to Prevent Landmark's Entry into the Market, HOG Now Attempts to
         Eradicate Landmark.

        Litigation

        65.      When all of HOG's other efforts failed to prevent Landmark's entry into

 Northwest Arkansas, Ors. J. Thaddeus Beck, Daniel S. Bradford, Gregory J. Oakhill, Stephan

 B. Rosenfeld, Eric S. Schaefer, and Patrick M. Travis ultimately filed this lawsuit on

 November 4, 2015. The allegations are far different from the usual qui tam - the lawsuit is

 devoid of inside information and fails to even correctly describe the business structure of the

 Landmark entities.     Since the entire premise of the lawsuit is that Landmark is illegally

 structured, this is a significant flaw.

        66.     The litigation does not allege that patients were over treated, that more or less

 care was provided to Landmark patients than was necessary, that the care Landmark patients

 received was substandard, or that federal programs were overbilled or improperly billed for

 services rendered. Rather, HOG's entire complaint is ultimately that these patients would

 have gone to an alternative provider if not for alleged "kickbacks" paid by Landmark. In this

 market, the only alternative is HOG.

        67.     The lawsuit was brought in bad faith and only as an attempt to regain a

 complete monopoly over radiation oncology services in Northwest Arkansas.


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       68.    The Complaint made allegations that were simply untrue - specifically, that

Dr. Kenneth Gardner made referrals to the Landmark Cancer Center and that he was an

owner in Physicians Radiation Arkansas, LP. Neither allegation is correct. And while one

may require nonpublic information to disprove, a group of oncologists would obviously be

aware that Dr. Gardner, as a radiation oncologist, is the recipient of referrals for radiation

therapy, not the generator of them.     Only Dr. Gardner's referrals were identified in the

Original Complaint.

       69.    In October of 2017, after Landmark filed its motion to dismiss the Original

Complaint, the Relators amended their complaint, but for two years, this lawsuit was

perpetuated based on a core allegation that the Relators knew to be incorrect.

IX.    Illegal Computer Access/ Attempts to Disable the Landmark Computer Network

       70.    Not all of HOG's attempts to interfere with Landmark's business dealings

have been as indirect as hiring employees, marketing under false names, disparaging

Landmark in the medical community, and hiring its employees.

       71.    In at least one instance, Landmark believes that HOG, or someone acting at

HOG's direction, illegally and improperly access Landmark's computer systems with an

intent to do harm to Landmark.

       72.    Over the course of the Memorial Day weekend in 2016, shortly after an

employee left Landmark to work for HOG, that employee's username and password were

used to remotely access Landmark's computer systems. The unauthorized user used a former

employee's email account and login credentials to intentionally activate a · piece of

ransomware designed to hijack as many Landmark systems as it could access by encrypting

all data it could on systems it touched. This ransomware was, at the time, unknown to

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Landmark's data security applications, and so it was able to encrypt and render useless key

components of Landmark's IT system including several of its workstations.

        73.    After the former employee's departure, that unauthorized user, or someone

else using valid login credentials, was observed logging into a remote desktop running on

Landmark's servers and manually installing another piece of ransomware into Landmark's

operating environment. As the company worked to restore uninfected backups and resolve

the issue, IT personnel for Landmark witnessed the remote user using these credentials log in

through the company's Remote Desktop Server and attempt to reinstall the ransomware.

       74.     The attack, unlike a typical ransomware attack or phishing attempt, appeared

to generate no failed logins (from failed password attempts) or failed connections (from

attempts to access systems in a foreign IT environment. What seemed clear is that this attack

was performed by someone with knowledge of Landmark's IT environment and with an

intent to do harm to the center by affecting its ability to operate.

       75.     The ransomware attack was initiated through the computer terminal formerly

belonging to the now-HOG employee.

                                         COUNTI
                         Unlawful Maintenance of Monopoly Power
                         Violation of Section 2 of the Sherman Act

       76.     Landmark incorporates its prior allegations as if fully restated herein.

       77.     HOG, through the acts and practices alleged above, has willfully maintained a

monopoly in the market for radiation oncology services in Northwest Arkansas in violation

of Section 2 of the Sherman Act, 15 U.S.C. Section 2.




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       78.     HOG possesses monopoly power over the market for radiation oncology

services in Northwest Arkansas. HOG has the power to control prices in that market, and has

the ability to exclude rivals in that market.

       79.     Significant barriers to entry exist in the market for radiation oncology services

in Northwest Arkansas. Entering that market under normal conditions requires significant

capital, expertise, and time.

       80.     HOG's anticompetitive actions have significantly increased the barriers to

entry in the market for radiation oncology services in Northwest Arkansas.

       81.     HOG's anticompetitive practices have injured Landmark, patients, and payers.

       82.     HOG, through the acts and practices complained of herein has committed, and

is committing, a violation of Section 2 of the Sherman Act, 15 U.S.C. Section 2.

                                          COUNT II
                                 Attempted Monopolization
                          Violation of Section 2 of the Sherman Act

       83.     Landmark incorporates its prior allegations as if fully restated herein.

       84.     HOG, through the acts and practices complained of, is engaged in an attempt

to monopolize the market for radiation oncology services in Northwest Arkansas in violation

of Section 2 of the Sherman Act, 15 U.S.C. Section 2.

       85.     HOG is committed to a long-term pattern of anticompetitive actions that are

designed to put Landmark out of business.

       86.     HOG's actions have injured Landmark and have created a dangerous

probability that HOG will succeed in driving Landmark out of business.




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       87.      HOG offers patients radiation oncology services in Northwest Arkansas. A

dangerous probability exists that HOG will acquire monopoly power over the market for

radiation oncology services in Northwest Arkansas.

       88.      HOG, through the acts and practices complained of herein, has committed, and

is committing, a violation of Section 2 of the Sherman Act, 15 U.S.C. Section 2.

                                        COUNTIII
            Violation of the Computer Fraud & Abuse Act, 18 U.S.C. Section 1030

       89.      Landmark incorporates its prior allegations as if fully restated herein.

       90.      The HOG Defendants, either individually or in concert, knowingly and with

intent to defraud and/or cause harm, intentionally accessed Landmark's computer system and

remote desktop server without authorization and/or exceeded any authorization to access the

computer system and remote desktop server of Landmark.

       91.      By means of this unauthorized access, or exceeded authorized access, the

HOG Defendants furthered their intended fraud, obtaining a value of more than $5,000 and

causing damage in excess of $5,000, including but not limited to accessing confidential

pricing, purchasing, or other financial data, trade secrets, and by causing harm to the

computer systems of Landmark.

       92.      The HOG Defendants obtained access to Landmark's computer system and

remote desktop server through the use of interstate commerce.

       93.      The HOG Defendants conspired to commit or attempt to commit these

offenses.

       94.      Landmark was forced to retain an attorney to prosecute this action, and is

therefore entitled to an award of reasonable attorneys' fees and costs.


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       95.    Landmark has suffered damage and loss by reason of the HOG Defendants'

violation of 18 U.S.C. Section 1030, including the costs of responding to the HOG

Defendants' offense, conducting a damage assessment, restoring lost data, lost revenue, costs

incurred including attorney and consultant's fees, and other consequential damages.

                                       COUNTIV
       Violation of Section 43(a) of the Lanham Act, 15 U.SC. Section 1125(a)(l)

       96.    Landmark incorporates its prior allegations as if fully restated herein.

       97.    As set forth above, HOG has made false or misleading statements to the

Arkansas Secretary of State, through its website, and to consumers in Northwest Arkansas

designed to confuse physicians and patients about the separate identities of HOG and

Landmark.

       98.    HOG's false and/or misleading statements have the capacity to deceive a

substantial portion of Landmark's intended audience of potential patients, and, upon

information and belief, these statements have actually deceived potential patients and their

physicians.

       99.    By publishing its false and misleading statements to the Arkansas Secretary of

State and on its website, HOG has placed the statements in interstate commerce.

       100.   Landmark has suffered injury as a result of HOG's false and misleading

statements, both by direct diversion of potential Landmark patients and by a lessening of

goodwill associated with Landmark's reputation in the Northwest Arkansas market.

       101.   Landmark continues to be damaged by HOG's efforts to confuse the

marketplace about the separate identities of Landmark and HOG. Unless HOG's conduct is

enjoined, Landmark and its reputation will suffer irreparable injury that cannot be adequately


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calculated or compensated solely by monetary damages and for which there is no adequate

remedy at law.

       102.    HOG, through the acts and practices complained of herein, has committed, and

is committing a violation of 41 U.SC. Section 1125(a)(l).

                                       COUNTY
                      Deceptive and Unconscionable Trade Practices
                 Violation of the Arkansas Deceptive Trade Practices Act

       103.    Landmark incorporates its prior allegations as if fully restated herein.

       104.    The Landmark parties are "persons" entitled to protection under ·the Arkansas

Deceptive Trade Practices Act, Ark. Code Ann. Section 4-88-101, et seq.

       105.    The HOG Defendants, through their employees and owners, have engaged in

unconscionable and false deceptive acts and practices of business as described above.

       106.   The HOG Defendants knowingly engaged in a scheme and artifice to defraud

the Landmark parties, made untrue statements of facts, failed by omission to make factual

statements, in light of the circumstances in which they were made, not misleading, and

engaged in acts and practices that operated as a fraud and deceit upon the Landmark entities.

The actions are unconscionable, false, and deceptive in the practice of business and, thus,

they are in violation of Ark. Code Ann. Section 4-88-107.

       107.   The HOG Defendants' conduct proximately caused the Landmark parties to

suffer actual financial damages as set forth herein, as well as reasonable attorneys' fees and

costs of litigation pursuant to Ark. Code Ann. Section 4-88-1 l 3(f).

                                       COUNT VI
                    Tortious Interference with a Business Expectancy

       108.   Landmark incorporates its prior allegations as if fully restated herein.


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         109.     Landmark had a valid business expectancy in its efforts to attract and recruit

new radiation oncologists or other providers to relocate to Northwest Arkansas to broaden

the number of physicians with the specialized knowledge and training to provide cancer

treatments in Northwest Arkansas.

         110.     In addition, Landmark has a valid business expectancy in its ability to receive

referrals from all service providers in the Northwest Arkansas community, including area

hospitals.      The HOG Defendants have intentionally attempted to interfere with this by

negotiating exclusive or preferred provider relationships with one or more care providers,

including most recently the Mercy Hospital system.

         111.     The HOG Defendants had knowledge of such expectancies at all relevant

times.

         112.     The HOG Defendants, while using data and information belonging to

Landmark obtained either through improper access to Landmark's computer systems or by

false pretenses of a "business discussion," did intentionally and in bad faith interfere in

Landmark's efforts to recruit alternative oncology service providers to Northwest Arkansas.

         113.     As a direct and proximate result of the foregoing actions, Landmark has been

damaged in the amounts set forth in this Third Party Complaint, plus pre-judgment interest,

costs, and attorneys' fees.

                                          COUNT VII
                                     UNFAIR COMPETITION

         114.     Landmark incorporates its prior allegations as if fully restated herein.

         115.     The HOG Defendants have intentionally simulated Landmark's name and

identity with the purpose of deceiving the public.


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        116.   The HOG Defendants possessed knowledge at all relevant times that the

public and consumers at large identify Landmark by the "Landmark" name and identity.

        117.   The HOG Defendants acted with the purpose of confusing and misleading the

public and consumers at large by changing the text on its website to direct certain searches to

the HOG Defendants rather than Landmark.

        118.   The HOG Defendants further acted with the purpose of confusing and

misleading the public and consumers at large by acquiring the advertising and search-engine

rights to certain searches, including the term Landmark and Northpoint, that would direct

certain searches to the HOG Defendants rather than Landmark.

       119.    In addition, the HOG Defendants registered "fictitious names" with the

Arkansas Secretary of State in an attempt for the purpose of confusing and misleading the

public and consumers at large.

       120.    As a direct and proximate result of the foregoing actions, Landmark has been

damaged in the amounts set forth in this Third Party Complaint, plus pre-judgment interest,

costs, and attorneys' fees.

                                  PRAYER FOR RELIEF

WHEREFORE, Third-Party Plaintiffs pray that this Honorable Court grant the following relief:

       A. Declare that Third-Party Defendant has violated Sections 1 and 2 of the Sherman

           Act, violated Section 43(a) of the Lanham Act, violated the Computer Fraud &

           Abuse Act, violated the Arkansas Deceptive Trade Practices Act, Ark. Code Ann.

           Section 4-88-101 et seq., have tortuously interfered with a business expectancy,

           and committed a violation of the common law of unfair competition.



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      B. Permanently enjoin Third-Party Defendant from (i) continuing their qui tam

          lawsuit against Third-Party Plaintiffs or any other Defendant, (ii) marketing or

          holding themselves or their business out as "Landmark" or "Northpoint," and (iii)

          contracting with third-parties for exclusive or "preferred provider" arrangements

          to the exclusion of the Landmark Defendants;

      C. Award Third-Party Plaintiffs damages in the form of three times the amount of

          lost profits that Landmark suffered, or will continue to suffer, as a result of Third-

          Party Defendant's anticompetitive actions;

      D. Award Third-Party Plaintiffs damages in the form of the lost business expectancy

          that Landmark was prevented from achieving, or will be prevented from

          achieving, as a result of Third-Party Defendant's anticompetitive actions;

      E. Award Third-Party Plaintiffs damages in the form of damages measured by the

          financial loss caused by Third-Party Defendant's violations of the Arkansas

          Deceptive Trade Practices Act;

      F. Award Third-Party Plaintiffs exemplary or punitive damages;

      G. Award Third-Party Plaintiffs costs and attorneys' fees;

     H. A trial by jury; and

     I.   Such other and further relief as the Court deems appropriate and equitable.




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                                       Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

                   I hereby certify that, on November 21, 2017, the foregoing document was

served upon all counsel of record via the Court's electronic filing system in accordance with

the Federal Rules of Civil Procedure.

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                                                     Todd P. Lewis                ·


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